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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA

                  v.                                    CRIMINAL NO. DLB-20-00337

 STEPHEN L. SNYDER,

                       Defendant.
                       GOVERNMENT’S MOTIONS IN LIMINE NO. 10
       The United States of America, by its undersigned counsel, submits this Motion in Limine

No. 10 to exclude the testimony of Ross Guberman.

       On November 1, 2024, Snyder, through standby counsel, provided four expert disclosures

under Rule 16(b)(1)(C). See Nov. 1, 2024 Expert Disclosure, attached as Exhibit 1. Snyder

disclosed the following four experts: Ross Guberman, Jonathan Schraub, Antonio DiCarlo, and

Jesse Schold. This Motion is limited to Ross Guberman.

       Snyder first disclosed Guberman as an expert with his Motions to Dismiss, filed in 2021.

Snyder’s recent Disclosure attaches Guberman’s 2021 declaration, in which Guberman criticizes

the drafting of the Indictment. See Guberman Declaration, attached as Exhibit 2. Guberman’s

criticisms of the Indictment are not relevant under Rule 401 or helpful to the trier of fact under

Rule 702. Although the practice can vary by judge, most juries in this District never see the

Indictment. Further, the Court denied Snyder the relief he was seeking in his original motions to

dismiss, and prior to doing so, the Court precluded Snyder from calling Guberman as a witness at

the motions hearing. See ECF No. 205. At the Pretrial Conference on October 28, 2024, the Court

also granted the Government’s Motion in Limine No. 1, which sought to preclude Snyder from

attacking the prosecutors in the case. Guberman’s opinions are exactly that – an attack on the




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prosecutors for the manner in which they drafted the Indictment. For these reasons, the Court

should preclude Guberman from testifying at the trial in this case.

                                                     Erek L. Barron
                                                     United States Attorney

                                                     ___/s/_________________
                                                     Matthew P. Phelps
                                                     Evelyn L. Cusson
                                                     Assistant United States Attorneys

                                CERTIFICATE OF SERVICE

       I hereby certify that this filing was served on the defendant via first class mail to the

following address:


       Stephen L. Snyder
       7307 Park Heights Avenue, Apt. 200
       Encore Building,
       Pikesville, Maryland 21208



                                                     ___/s/_________________
                                                     Evelyn L. Cusson
                                                     Assistant United States Attorney




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